       Case 1:23-cr-00327-JS Document 23 Filed 10/11/23 Page 1 of 2 PageID #: 70
#




                                                                              FI LED
                                                                           IN CLERK'S OFFICE
                                                                     U.S. DISTRICT COURT E.D.N.Y.
    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK                                     * OCT 1 1 2023 *
    ---------------------------X                                      LONG ISLAND OFFICE
    UNITED STATES OF AMERICA
                                                              ORDEROFEXCLUDABLE
           - against -                                        DELAY

    SAMUEL MIELE,                                             Docket No. 23-CR-327 (JS)

                              Defendant.

    ---------------------------X

                    WHEREFORE a joint application by BREON PEACE, United States Attorney for

    the Eastern District of New York, by Assistant United States Attorneys Ryan C. Harris, Anthony

•   Bagnuola, and Laura Zuckerwise, and COREY R. AMUNDSON, Chief of the Public Integrity

    Section of the United States Department of Justice, by Trial Attorneys John Taddei and Jacob

    Steiner (collectively, the "Government") and defendant SAMUEL MIELE seeks an Order

    excluding the time period from October 11, 2023 to November 14, 2023, in computing the time

    within which trial must commence in the above-captioned matter, and

                   WHEREFORE, the Government and the defendant stipulate that they are engaged

    in plea negotiations, which they believe may result in a disposition of this case without trial, and

    that they require an exclusion of time in order to focus efforts on plea negotiations without the risk

    that they would not, despite their diligence, have reasonable time for effective preparation for trial,

    and

                   WHEREFORE, the Court finds that the requested exclusion oftime serves the ends

    of justice and outweighs the best interests of the public and the defendant in a speedy trial because

    given the reasonable likelihood that ongoing plea negotiations will result in a disposition of this

    case without trial, the exclusion of time will allow all counsel to focus their efforts on plea
           Case 1:23-cr-00327-JS Document 23 Filed 10/11/23 Page 2 of 2 PageID #: 71
    ,
.
        negotiations without the risk that they would be denied the reasonable time necessary for effective

        preparation for trial, taking into account the exercise of due diligence;

                       IT IS ORDERED that the period of time from October 11, 2023 to November 14,

        2023, shall be excluded from the computation of time within which trial must commence in the

        above-captioned matter.

        Dated:     Central Islip, New York
                   October  I/-,   2023
                                                                                    I)   J


                                                          IIDNoRABLEJOA~YBERT
                                                        ITED STATES DISTRICT JUDGE
                                                      EASTERN DISTRICT OF NEW YORK
